                              Case 1:05-cv-01187-OWW-GSA Document 18 Filed 06/19/06 Page 1 of 2


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                       4
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                       5      Thomas N. Smith
                       6
                       7
                       8                                      UNITED STATES DISTRICT COURT
                       9                                    EASTERN DISTRICT OF CALIFORNIA
                    10                                                   FRESNO DIVISION
                    11        THOMAS N. SMITH,                                        No. 05-CV-01187
                    12                               Plaintiff,                       STIPULATION TO PERMIT FILING OF
                                                                                      SECOND AMENDED COMPLAINT IN
                    13                v.                                              05-CV-01187 AND TO CONSOLIDATE
                                                                                      05-CV-01187 AND 05-CV-01024 AND
                    14        DARRIN SIMMONS dba CLEAN                                ORDER THEREON
                              AIR PRODUCTS, INC.,
                    15
                                                     Defendants.
                    16
                    17                          Plaintiff, Thomas N. Smith, by his counsel David M. Gilmore, Gilmore,
                    18        Wood, Vinnard & Magness, and Defendants Clean Air Products, Inc. and Darrin
                    19        Simmons, by his counsel Leonard C. Herr, stipulate and agree as follows:
                    20                          1.       Smith, in pro per, filed Actions 05-CV-01187 and 05-CV-01024
                    21        against Defendants Simmons and Clean Air Products. Action 05-CV-01187 has a first
                    22        amended complaint already on file. The claims in both cases arise from the same
                    23        underlying transactions.
                    24                          2.       Defendants have filed motions to dismiss both cases on a variety of
                    25        grounds. These motions are scheduled to be heard on May 22, 2006.
                    26                          3.       After meeting and conferring with counsel for Defendants, Plaintiff
                    27        agrees that the operative pleadings should be amended to address the issues raised by
                    28        Defendants in the motion to dismiss.
     GILMORE, WOOD,
   VINNARD & MAGNESS
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 A PROFESSIONAL CORPORATION
      P. O. BOX 28907
  FRESNO, CA 93729-8907                      STIPULATION TO PERMIT FILING OF SECOND AMENDED COMPLAINT IN 05-CV-01187 ETC. (No. 05-CV-01187)

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                              Case 1:05-cv-01187-OWW-GSA Document 18 Filed 06/19/06 Page 2 of 2


                       1                        4.       The parties agree that Plaintiff should be given leave to file a second
                       2      amended complaint in 05-CV-01187 and further that the two actions should be
                       3      consolidated with the second amended complaint in 05-CV-01187 to be the operative
                       4      complaint once filed.
                       5                        5.       The motions to dismiss shall be taken off calendar without prejudice
                       6      to Defendants’ right to file a motion to dismiss as to the second amended complaint.
                       7      Dated: May __, 2006                                     GILMORE, WOOD, VINNARD &
                                                                                      MAGNESS
                       8
                       9                                                              By: /s/ David M. Gilmore
                                                                                          David M. Gilmore
                    10                                                                    Attorneys for Plaintiff

                    11        Dated: May __, 2006                                     DOOLEY, HERR & PELTZER, LLP
                    12
                                                                                      By: /s/ Leonard C. Herr
                    13                                                                    Leonard C. Herr
                                                                                          Attorneys for Defendants
                    14
                    15                                                          ORDER
                    16                          Based on the Stipulation of the parties and for good cause,
                    17                          1.       Action No. 05-CV-01187 and 05-CV-01024 are hereby consolidated
                    18        with 05-CV-01187 being the surviving case.
                    19                          2.       Plaintiff shall file a second amended complaint in 05-CV-01187
                    20        within 20 days of the date of this Order.
                    21                          3.       Defendants’ Motions to Dismiss currently scheduled to be heard on
                    22        May 22, 2006 are off calendar without prejudice to Defendants’ right to refile.
                    23        Dated: June 15, 2006                                    /s/ OLIVER W. WANGER
                    24
                    25                                                                            OLIVER W. WANGER

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